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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                      *
                                               *
        v.                                     *
                                               *           CRIMINAL NO. PX-20-044
 ALLEN LAMIN,                                  *
                                               *
                Defendant.                     *
                                               *
                                               *
                                            *******

             GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING

       The United States of America, by and through its attorney, hereby submits the

Government’s Memorandum in Aid of Sentencing for Allen Lamin. Defendant Allen Lamin

(“Lamin”) is scheduled to be sentenced on September 23, 2021, at 10:00 a.m. For the reasons set

forth below, the Government submits that a sentence of 87 months in prison on each count and

concurrent, followed by 5 years of concurrent supervised release, is a sentence sufficient but

not greater than necessary to satisfy the goals of sentencing.

                                        BACKGROUND

I.     Factual Background

       The indictment and the factual allegations in the Government’s open plea letter set forth

the Defendant’s scheme to defraud. Lamin entered United States Post Offices in Maryland and

elsewhere to steal blank postal money orders from the United States Postal Service. On December

3, 2019, the Defendant entered the United States Post Office located in White Marsh, Maryland

(the “White Marsh Post Office”). The Defendant, wearing a puffy red and white jacket, a red and

white knit hat, and red, white, and blue Nike shoes, approached the clerk—the only one in the Post

Office. (Ex. 1 at 3.) The Defendant asked for a “forwarding card” and was provided with a change
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of address card. The Defendant went around the corner to fill out the card. (Id.) The Defendant

returned to the counter and said he would not be filling out the change of address card, and instead

purchased a low-denomination postal money order for $20. (Id.) The postal money order sold to

the Defendant had the serial number 25890043072. (Id.) The Defendant then asked if there were

any extra moving boxes. (Id.) When the clerk left the counter, the Defendant proceeded to steal

65 blank money orders. (Ex. 2 at 6.) Following the theft, the clerk identified the Defendant in a

six-person photo array. 1 (Ex. 3 at 2.) When law enforcement processed a jacket seized from the

Defendant’s residence in Gwynn Oak, Maryland, they discovered a stack of six low denomination

postal money orders. (Ex. 4.) Within the stack of six low denomination postal money orders, law

enforcement recovered the postal money order sold to the Defendant on December 3, 2019, with

the serial number 25890043072. (Ex. 5.)

       Prior to the December 2019 theft, the Defendant carried out the same scheme on two

separate occasions—February 7, 2019, and September 27, 2019—at the U.S. Post Office at the

Prince George’s Plaza in Hyattsville, Maryland (the “Prince George’s Plaza Post Office”).

Security camera footage from the post office shows the Defendant interacting with the clerk. (Ex.

6; Ex. 7.) Once the clerk is no longer visible in the video, the Defendant proceeded to reach behind

the counter and steal blank postal money orders. (Ex. 6 at 3; Ex. 7 at 2.) On February 7, 2019, the

Defendant stole 96 blank money orders. (Ex. 2 at 1-2.) Subsequently, on September 27, 2019, the

Defendant stole 67 blank money orders while the clerk was away from the counter. (Ex. 2 at 4-5.)

       After he stole the blank postal money orders, the Defendant would use a printer to alter the

stolen blank money orders so that the money orders fraudulently reflected being issued for high-

dollar amounts (“the fraudulent postal money orders”). When law enforcement searched Lamin’s



       1
           The White Marsh Post Office is not equipped with security cameras. (Ex. 19 ¶ 4.)


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residence in Baltimore, Maryland, pursuant to a search warrant, they observed evidence of Lamin’s

unsuccessful attempts to alter the blank stolen money orders. In a dresser drawer, law enforcement

recovered a postal money order that had been altered to $900 (double printed in error) with an

issue date and U.S. Post Office unit number printed on the blank stolen money order. (Ex. 8.)

Lamin would then deposit these fraudulently altered stolen money orders into financial accounts

at the victim financial institutions. The financial accounts were opened by Lamin using the names

and identities of identity theft victims, with a means of identification for those individuals, or in

the names of fictitious entities (“the fraudulent accounts”). As visible on surveillance footage,

LAMIN negotiated the following stolen money orders into the following fraudulent accounts:

       •   Two stolen postal money orders totaling $1,900 in an account in the name of a victim,
           cashed on February 27, 2019, at Navy Federal in Odenton, Maryland. (Ex. 9 at 33.)
       •   Four stolen postal money orders totaling $3,900 in an account in the Defendant’s name,
           cashed on May 3, 2019, at PNC Bank in Catonsville, Maryland. (Ex. 20 at 34, 35, 36,
           49.)
       •   Three stolen postal money orders totaling $3,000 in an account in the name of a
           business, cashed on October 1, 2019, at Bank of America in Dallas, Texas. (Ex. 9 at
           32.)
       •   Three stolen postal money orders totaling $3,000 in an account in the name of a victim,
           cashed on October 1, 2019, at Bank of America in Dallas, Texas. (Ex. 9 at 46.)
       •   One stolen postal money order totaling $1,000 in an account in the name of a victim,
           cashed on October 2, 2019, at Bank of America in Baltimore, Maryland. (Ex. 9 at 47.)
       •   One stolen postal money order totaling $1,000 in an account in the name of a victim,
           cashed on October 2, 2019, at Bank of America in Columbia, Maryland. (Ex. 9 at 48.)
       •   Two stolen postal money orders totaling $2,000 in an account in the name of a victim,
           cashed on October 3, 2019, at Bank of America in Baltimore, Maryland. (Ex. 9 at 49.)
       •   Two stolen postal money orders totaling $2,000 in an account in the name of a victim,
           cashed on October 10, 2019, at PNC Bank in Reisterstown, Maryland. (Ex. 9 at 26-
           29.)
       •   One stolen postal money order totaling $1,000 in an account in the name of a victim,
           cashed on October 15, 2019, at PNC Bank in Atlanta, Georgia. (Ex. 9 at 36.)
       •   One stolen postal money order totaling $1,000 in an account in the name of a business,
           cashed on October 15, 2019, at PNC Bank in Atlanta, Georgia. (Ex. 9 at 37, 38.)



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•   One stolen postal money order totaling $1,000 in an account in the name of a victim,
    cashed on October 16, 2019, at PNC Bank in Atlanta, Georgia. (Ex. 9 at 54.)
•   One stolen postal money order totaling $1,000 in an account in the name of a business,
    cashed on October 16, 2019, at PNC Bank in Atlanta, Georgia. (Ex. 9 at 37, 38.)
•   One stolen postal money order totaling $1,000 in an account in the name of a business,
    cashed on October 17, 2019, at PNC Bank in Atlanta, Georgia. (Ex. 9 at 39.)
•   Three stolen postal money orders totaling $3,000 in an account in the name of a victim,
    cashed on December 17, 2019, at PNC Bank in Durham, North Carolina. (Ex. 9 at 2,
    3.)
•   Two stolen postal money orders totaling $2,000 in an account in the name of a victim,
    cashed on December 17, 2019, at PNC Bank in Chapel Hill, North Carolina. (Ex. 9 at
    13-15.)
•   Three stolen postal money orders totaling $3,000 in an account in the name of a
    business, cashed on December 17, 2019, at Bank of America in Durham, North
    Carolina. (Ex. 9 at 40-41.)
•   Two stolen postal money orders totaling $2,000 in an account in the name of a victim,
    cashed on December 18, 2019, at PNC Bank in Raleigh, North Carolina. (Ex. 9 at 16,
    17.)
•   Two stolen postal money orders totaling $2,000 in an account in the name of a business,
    cashed on December 18, 2019, at Bank of America in Cary, North Carolina. (Ex. 9 at
    44, 45.)
•   Two stolen postal money orders totaling $2,000 in an account in the name of a business,
    cashed on December 18, 2019, at Bank of America in Raleigh, North Carolina. (Ex. 9
    at 43.)
•   Two stolen postal money orders totaling $2,000 in an account in the name of a victim,
    cashed on December 19, 2019, at PNC Bank in Chapel Hill, North Carolina. (Ex. 9 at
    4, 5.)
•   Two stolen postal money orders totaling $2,000 in an account in the name of a victim,
    cashed on December 19, 2019, at PNC Bank in Charlotte, North Carolina. (Ex. 9 at
    18, 19.)
•   Two stolen postal money orders totaling $2,000 in an account in the name of a victim,
    cashed on December 24, 2019, at PNC Bank in Ellicott City, Maryland. (Ex. 9 at 20,
    21.)
•   Two stolen postal money orders totaling $2,000 in an account in the name of a victim,
    cashed on December 26, 2019, at PNC Bank in Ellicott City, Maryland. (Ex. 9 at 7-
    10.)
•   Two stolen postal money orders totaling $2,000 in an account in the name of a victim,
    cashed on December 26, 2019, at PNC Bank in Ellicott City, Maryland. (Ex. 9 at 22.)




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       •   One stolen postal money order totaling $1,000 in an account in the name of a victim,
           cashed on April 9, 2020, at PNC Bank in Plano, Texas. (Ex. 9 at 50.)
       •   Three stolen postal money orders totaling $3,000 in an account in the name of a victim,
           cashed on April 10, 2020, at PNC Bank in Plano, Texas. (Ex. 9 at 51.)

In total, $109,400.00 in fraudulent postal money orders stolen from the Prince George’s Plaza Post

Office were negotiated by the Defendant and others at the victim financial institutions. (Ex. 2 at

1-2, 4-5; Ex. 19 at 6.) Similarly, the Defendant and others negotiated $43,980.00 in fraudulent

postal money orders stolen from the White Marsh Post Office at the victim financial institutions.

(Ex. 2 at 6; Ex. 19 at 6.) Law enforcement identified these transactions based on the serial numbers

on the blank stolen money orders. (Ex. 19 ¶¶ 5, 9.)

       Lamin was also captured on surveillance video negotiating several stolen money orders

from the U.S. Post Office in Glenn Dale, Maryland (the “Glenn Dale Post Office”), totaling $8,000:

       •   One stolen postal money order totaling $1,000 in an account in the name of a victim,
           cashed on May 23, 2019, at Bank of America in Baileys Crossroads, Virginia. (Ex. 9
           at 23, 24.)
       •   Two stolen postal money orders totaling $2,000 in an account in the name of a victim,
           cashed on May 23, 2019, at PNC Bank in Arlington, Virginia. (Ex. 9 at 42.)
       •   One stolen postal money order totaling $1,000 in an account in the name of a victim,
           cashed on May 24, 2019, at Bank of America in Hyattsville, Maryland. (Ex. 9 at 53.)
       •   One stolen postal money order totaling $1,000 in an account in the name of a victim,
           cashed on May 24, 2019, at Bank of America in Washington, D.C. (Ex. 9 at 25, 26.)
       •   Two stolen postal money orders totaling $2,000 in an account in the name of a business,
           cashed on June 10, 2019, at PNC Bank in Pikesville, Maryland. (Ex. 9 at 31, 31.)
       •   One stolen postal money order totaling $1,000 in an account in the name of a victim,
           cashed on August 9, 2019, at Bank of America in Baltimore, Maryland. (Ex. 9 at 34,
           35.)

Lamin and others negotiated $42,900.00 in fraudulent postal money orders stolen from the Glenn

Dale Post Office at the victim financial institutions. (Ex. 2 at 3; Ex. 19 at 6.) A number of these

fraudulent postal money orders were negotiated into accounts at financial institutions in the names




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of victims or fictitious entities used by the Defendant—Victim 8, Victim 9, Victim 10, and

Business 4. (Ex. 2 at 3.)

       When law enforcement executed search warrants at the Defendant’s residences in Gwynn

Oak, Maryland, and Baltimore, Maryland, they recovered money orders or receipts for the deposit

of money orders that had been stolen from United States Post Offices. As noted previously, at the

Baltimore residence, law enforcement found a money order that was stolen from the U.S. Post

Office in Gwynn Oak, Maryland (the “Gwynn Oak Post Office”), and altered to $900—the test

run. (Ex. 8.) Between January 14, 2019, and February 20, 2019, $64,550.00 in fraudulent postal

money orders stolen from the Gwynn Oak Post Office were negotiated at the victim financial

institutions. (Ex. 2 at 9-10; Ex. 19 at 6.) Similar to the theft from the Glenn Dale Post Office,

approximately half of the fraudulent postal money orders were negotiated into bank accounts in

the names of individual victims used by the Defendant—Victim 11, Victim 12, and Victim 13.

(Ex. 2 at 9-10.)

       At the Gwynn Oak residence, law enforcement found a receipt for the deposit of three

money orders stolen from the U.S. Post Office in Columbia, Maryland (the “Columbia Post

Office”), altered to $3,000, and deposited on August 15, 2019. (Ex. 16.) Surveillance footage

from the bank showed the Defendant depositing the money orders. (Ex. 9 at 55, 56.) In total,

between June 20, 2019, and December 16, 2019, Lamin and others negotiated at the victim

financial institutions $84,000.00 in fraudulent postal money orders stolen from the Columbia Post

Office. (Ex. 2 at 7-8; Ex. 19 at 6.) Most of the fraudulent postal money orders were negotiated

into bank accounts in the names of victims or fictitious entities used by the Defendant—Victim 4,

Victim 10, Victim 14, Business 2, and Business 4. (Ex. 2 at 7-8.)




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       Following law enforcement’s execution of the search warrants at Lamin’s residences in

Maryland, the U.S. Marshals Service arrested the Defendant in Dallas, Texas, based on an arrest

warrant issued in the instant case. Pursuant to a search warrant, law enforcement retrieved text

messages from the Defendant’s phone. In these text messages, on the day after law enforcement

searched the Defendant’s residences in Maryland, Lamin told others that he was “running form

[sic] the law” and that law enforcement was “out to get [him].” (Ex. 10.) When law enforcement

arrested the Defendant in Dallas, they recovered 14 blank stolen money orders from the Dallas

residence. (Ex. 11.) These blank postal money orders had been stolen from the Industrial Post

Office in Atlanta, Georgia (the “Industrial Post Office”). Law enforcement also recovered the

packaging that is used to store money orders at the post office. (Ex. 12.) Visible in the packaging

was the serial number of a blank postal money order from that batch—25425248804. (Id. at 2.)

While the Defendant was fleeing law enforcement, between March 6, 2020, and April 9, 2020,

$10,620.00 in fraudulent money orders stolen from the Industrial Post Office were negotiated by

the Defendant and others at victim financial institutions. 2 (Ex. 2 at 11-12.)

       During the search of Lamin’s Dallas residence, law enforcement found fake driver’s

licenses in the names of other individuals, fake driver’s licenses displaying the Defendant’s

photograph but using a victim individual’s name, a social security card in the name of a victim

individual, and debit cards in the name of victim individuals (Victim 7, 15, 16, 17, and 18). (Ex.

13.) Law enforcement also found a “test run” stolen postal money order with a printing error. (Ex.

11 at 15.) Text messages on Lamin’s phone showed that Lamin had asked to purchase a fraudulent

driver’s license in the name of another individual (Victim 7) followed by a subsequent photograph



       2
         While evading law enforcement, the Defendant also cashed $13,980.00 in fraudulently
altered postal money orders stolen from the White Marsh Post Office—between January 13, 2020,
and April 10, 2020. (Ex. 2 at 6.)


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of a driver’s license in the name of Victim 7, but with Lamin’s photograph on the driver’s license.

(Ex. 14; Ex. 15.) This driver’s license was recovered in Lamin’s Dallas residence. (Ex. 13 at 2.)

Law enforcement also recovered a fake New York driver’s license, Social Security card, and

PayPal debit card displaying the name of another victim individual (Victim 15). (Ex. 13 at 1.)

Records showed that Lamin used the identities of Victims 7 and 15 to negotiate two money orders

stolen from the Industrial Post Office, totaling $2,000. (Compare Ex. 13, 15 with Ex. 26 at 45-

46.) Lamin also had three fake North Carolina driver’s licenses using Lamin’s photograph and

each in the name of a different identity theft victim. (Ex. 13 at 1.) In total, between July 10, 2019,

and April 9, 2020, $47,670.72 in fraudulent money orders stolen from the Industrial Post Office

were negotiated by Lamin and others at victim financial institutions. (Ex. 2 at 11-12; Ex. 19 at 6.)

       Based on this offense conduct, $392,500.72 in loss to the victim financial institutions is

attributable to the Defendant and the Defendant personally cashed $71,880.00 in fraudulently

altered stolen postal money orders. (Ex. 19 at 6.)

II.    Procedural Background

       On February 5, 2020, the Defendant was indicted on five counts of bank fraud, in violation

of 18 U.S.C. § 1344. Lamin had his initial appearance on June 17, 2020. A detention hearing was

held on June 19, 2020, and the Defendant was detained pending trial.

       On May 7, 2021, the Defendant pled guilty to the five counts in the indictment without a

plea agreement. After accepting the Defendant’s plea to these counts and adjudging him guilty,

the Court scheduled sentencing for August 2, 2021, and directed the U.S. Probation Office

(“Probation”) to prepare the Pre-Sentence Investigation Report (“PSR”), which was filed on July

9, 2021. (ECF No. 38 (“PSR”).) Based on a joint motion by the parties, the Defendant’s

sentencing was rescheduled to September 23, 2021. (ECF No. 37.)




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                                      LEGAL STANDARD

I.     Standard for Sentencing Enhancements

       Sentencing Guidelines factors need only be established by a preponderance of the

evidence. United States v. Battle, 499 F.3d 315, 323 (4th Cir. 2007); see also United States v.

Williams, 721 F. App’x 264 (4th Cir. 2018). “It is well established that a court may, for purposes

of sentencing, consider any relevant information before it, including uncorroborated hearsay,

provided that the information has sufficient indicia of reliability to support its accuracy.’” United

States v. Mondragon, 860 F.3d 227, 233 (4th Cir. 2017) (internal quotation marks and citation

omitted); see also United States v. Umaña, 750 F.3d 320, 348 (4th Cir. 2014) (holding that the

“Confrontation Clause does not preclude the introduction of hearsay statements” during the

sentencing phase, even in capital cases); U.S.S.G. § 6A1.3(a).

II.    Court’s Determination of an Appropriate Sentence

       In United States v. Green, 436 F.3d 449 (4th Cir. 2006), the Fourth Circuit held that after

United States v. Booker, 543 U.S. 220 (2005), which made the Sentencing Guidelines effectively

advisory, the district court is commanded to fulfill congressionally established objectives for

sentencing set out in 18 U.S.C. § 3553(a): promoting respect for the law; providing just

punishment for the offense; affording adequate deterrence; protecting the public from further

criminal activity of the defendant; providing the defendant training, medical care, and

correctional treatment; and providing restitution to victims. See Green, 436 F.3d at 455; see also

United States v. Moreland, 437 F.3d 424, 432 (4th Cir. 2006).

       Thus, in conducting a sentencing, district courts must (1) calculate the sentence range

recommended by the Sentencing Guidelines; (2) determine whether a sentence within that range

and within statutory limits serves the statutory sentencing factors set out in 18 U.S.C. § 3553(a)



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and, if not, select a sentence that does serve those factors; (3) implement mandatory statutory

limitations; and (4) articulate the reasons for selecting the particular sentence, especially

explaining why a sentence outside of the Sentencing Guidelines range better serves the relevant

statutory sentencing purposes. See Green, 436 F.3d at 455-56; Moreland, 437 F.3d at 432. The

explanation of a variant sentence must be tied to the factors set forth in § 3553(a) and must be

accompanied by findings of fact as necessary. See Green, 436 F.3d at 455-56; United States v.

Perez-Pena, 453 F.3d 236, 241 (4th Cir. 2006). The district court is given “some latitude,” and “a

degree of deference,” to tailor a particular sentence to the circumstances. Green, 436 F.3d at 456-

57; Moreland, 437 F.3d 433.

                                          ARGUMENT

I.     Application of the Sentencing Enhancements

       a. The Defendant’s Actual and Intended Losses were Greater than $250,000

       The Defendant was directly involved in cashing $71,880.00 in stolen postal money orders

into fraudulent accounts, some of which were opened in the names of identity theft victims. The

Defendant was captured on surveillance footage negotiating blank postal money orders—many of

which he was observed stealing—into the bank accounts of individuals whose identities he had

stolen as well as bank accounts in the names of fictitious businesses. (Ex. 9.) Law enforcement

also recovered from the Defendant’s Dallas residence false identification cards for two victims

(Victim 7 and Victim 15) in whose names the Defendant negotiated fraudulent postal money orders

stolen by the Defendant. (Ex. 13.)

       Section 1B1.3(a)(1)(B) of the Sentencing Guidelines states that specific offense

characteristics (such as the determination of loss amounts) shall be determined based on not only

the acts and omissions caused by the defendant, but also “in the case of jointly undertaken criminal




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activity (a criminal plan, scheme, endeavor, or enterprise undertaken by the defendant in concert

with others, whether or not charged as a conspiracy), all acts and omissions of others that were—

(i) within the scope of the jointly undertaken criminal activity; (ii) in furtherance of that criminal

activity; and (iii) reasonably foreseeable in connection with that criminal activity; that occurred

during the commission of the offense of conviction.” “In a case involving jointly undertaken

criminal activity, loss resulting from the conduct of others is attributable to a defendant ‘so long

as the conduct was in furtherance of, and reasonably foreseeable in connection with the criminal

activity.’” United States v. Stewart, 765 F. App’x 915, 919 (4th Cir. 2019) (quoting United States

v. Otuya, 720 F.3d 183, 191 (4th Cir. 2013)).

       Pursuant to § 1B1.3(a)(2), “all conduct that is ‘part of the same course of conduct or

common scheme or plan as the offense of conviction’ constitutes relevant conduct” and “offenses

are within the ‘same course of conduct’ when ‘they are sufficiently connected or related to each

other as to warrant the conclusion that they are part of a single episode, spree, or ongoing series of

offenses.’” United States v. Hodge, 354 F.3d 305, 312 (4th Cir. 2004) (quoting U.S.S.G. §

1B1.3(a)(2) and app. n. 5(B)(ii)). “Significant factors used to determine whether offenses are part

of the same course of conduct ‘include the degree of similarity of the offenses, the regularity

(repetitions) of the offenses, and the time interval between the offenses.’” Id. at 313 (quoting

U.S.S.G. § 1B1.3(a)(2) app. n. 5(B)(ii)).

       “[T]he overarching design of the Sentencing Guidelines is aimed at sentencing defendants

in substantial part for the actual conduct in which the defendant engaged regardless of the charges

for which he was indicted or convicted.” United States v. Agyekum, 846 F.3d 744, 751 (4th Cir.

2017) (internal quotations omitted). “Thus, despite the limited scope of conduct for which the

defendant was convicted, he may nonetheless be sentenced more broadly for relevant conduct.”




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United States v. McVey, 752 F.3d 606, 610 (4th Cir. 2014); see also United States v. Siddons, 660

F.3d 699, 704 (3d Cir. 2011) (“The determination of loss and other factors pertinent to a fraudulent

scheme is never confined to the date of the charged mailing or wiring, but always encompasses all

relevant conduct that was part of the same course of conduct or common scheme or plan.”)

       Additionally, the Sentencing Guidelines require that, for purposes of determining the

offense level for property and financial crimes, the loss is the greater of actual or intended loss,

U.S.S.G. § 2B1.1, cmt. n.3(A), and actual loss is defined as “the reasonably foreseeable pecuniary

harm that resulted from the offense,” id. Application Note 3(C) of the Sentencing Guidelines states

that the “court need only make a reasonable estimate of the loss” and that the “estimate of the loss

shall be based on available information.”

       The evidence shows that the Defendant stole postal money orders from the White Marsh

Post Office and the Prince George’s Plaza Post Office. The teller’s description of the Defendant

and the positive identification of the Defendant in a photographic array shortly after the theft are

sufficient to establish that the Defendant stole the postal money orders from the White Marsh Post

Office. (Ex. 1; 3.) Similarly, the surveillance videos showing the Defendant reaching over the

register to steal blank postal money orders at the Prince George’s Plaza Post Office on two separate

occasions prove the Defendant’s theft. (Ex. 6; 7.)

       The losses that accrued when the blank postal money orders that the Defendant had stolen

were fraudulently altered and negotiated at victim financial institutions are within the scope of the

criminal activity, in furtherance of that criminal activity, and reasonably foreseeable in connection

with that criminal activity. A total of $109,400.00 in fraudulent stolen money orders from the

Prince George’s Plaza Post Office were deposited by the Defendant and others. (Ex. 19 at 6.)

Likewise, $43,980.00 in fraudulent stolen money orders from the White Marsh Post Office were




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negotiated by the Defendant and others. (Ex. 19 at 6.) These blank stolen money orders were

fraudulently altered and deposited in much the same way that the Defendant undertook his crimes,

showing that these fraudulent money orders deposited by other individuals were within the scope

of the criminal activity and in furtherance of that criminal activity. Further evidencing this, several

the fraudulent postal money orders were deposited into fraudulent accounts in the names of the

same victims and businesses used by the Defendant when he deposited his fraudulently altered

stolen postal money orders. Having stolen the blank postal money orders, the Defendant had these

blank money orders in his possession, and it is axiomatic that if others deposited these money

orders the Defendant gave them the stolen money orders. By providing the blank stolen postal

money orders to others, the Defendant facilitated the deposit of these fraudulent money orders at

victim financial institutions. Providing these blank postal money orders to others and having them

effectuate the very same scheme, the acts of the Defendant’s coconspirators were in furtherance

of the scheme and the resulting losses to the victim financial institutions were reasonably

foreseeable to the Defendant. See United States v. Williams, 365 F. App’x 478, 479 (4th Cir. 2010)

(finding that attributing to defendant the total loss and number of victims was appropriate where

the defendant “introduced other individuals to the counterfeit check-cashing scheme and that she

was aware of the other participants.”)

       The evidence also shows that the Defendant was responsible for depositing a number of

fraudulently altered stolen postal money orders from the Glenn Dale, Columbia, and Gwynn Oak

Post Offices. More than half of the blank postal money orders stolen from these post offices are

directly attributable to Lamin as they were either: (a) deposited by Lamin as confirmed by

surveillance footage, or (b) deposited into fraudulent accounts in the names of individual victims

or fictitious entities used by Lamin. The Defendant also had in his possession a test run stolen




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postal money order from the Gwynn Oak Post Office. (Ex. 8.) The postal money orders

attributable to Lamin were interspersed throughout the sets of blank postal money orders stolen

from the respective Post Offices. The Defendant’s access to blank postal money orders throughout

the series of postal money orders stolen from the Glenn Dale, Columbia, and Gwynn Oak Post

Offices evidences that the Defendant had access to the full sets of postal money orders stolen from

these Post Offices. Either having stolen the blank postal money orders from these Post Offices or

having divided the stolen blank postal money orders with others, it was again reasonably

foreseeable to the Defendant that these stolen blank postal money orders would be fraudulently

altered and deposited or cashed at victim financial institutions in furtherance of the very same

scheme the Defendant was committing. See United States v. Discua, 189 F. App’x 202, 206 (4th

Cir. 2006) (finding that based on defendant’s position he “could have surmised the scope of the

conspiracy” and “could have reasonably foreseen [] the amount of loss”); see also Otuya, 720 F.3d

at 191 (affirming district determination of loss where the defendant personally perpetrated the

underlying fraudulent transactions or “because he had a close working connection with the

conspirators who did.”) Accordingly, the $42,900.00 in fraudulent stolen money orders from the

Glenn Dale Post Office, $84,000.00 from the Columbia Post Office, and $64,550.00 from the

Gwynn Oak Post Office that were negotiated by the Defendant and others are attributable to the

Defendant as part of his offense conduct.

       Finally, as previously discussed, when law enforcement conducted a search of the

Defendant’s residence in Dallas, Texas, they recovered the packaging used to store blank postal

money orders, along with a blank money order in this packaging. (Ex. 12.) The Defendant also

had in his residence blank postal money orders with serial numbers that traced back to this

packaging, which was from the Industrial Post Office, and a test run money order. (Ex. 11.) From




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this package of postal money orders, forty-nine stolen postal money orders were fraudulently

altered and deposited at victim financial institutions. (Ex. 2 at 11-12.) Two of these stolen postal

money orders were deposited in the names of Victim 7 and Victim 15, respectively, whose false

identifications the Defendant had at his Dallas residence and on his phone. (Compare Ex. 2 at 11-

12 with Ex. 13; Ex. 14.) Based on this evidence, including that U.S. Post Offices do not sell blank

postal money orders and do not provide the packaging used to store blank postal money orders to

customers, the evidence shows that the Defendant stole these postal money orders. (See Ex. 19 ¶

3.) The Government therefore submits that the Defendant had possession of the blank postal

money orders stolen from the Industrial Post Office and either deposited these stolen postal money

orders himself or provided them to others. Given his role, it was reasonably foreseeable to the

Defendant that these stolen blank postal money orders would be deposited at victim financial

institutions in furtherance of the scheme—just as the Defendant did for the fourteen months he

deposited his own fraudulently altered postal money orders. In total, $47,670.72 in fraudulent

stolen postal money orders from the Industrial Post Office were deposited by the Defendant and

others.

          Accordingly, pursuant to U.S.S.G. § 2B1.1(b)(1)(G), a 12-level enhancement applies

because the intended or actual loss attributable to the Defendant is $392,500.72. See United States

v. Grant, 431 F.3d 760, 762 (2005) (stating that it is proper to “use[] the full face value of a check

to calculate intended loss.”)

          b. The Defendant’s Offense Involved 10 or More Victims

          The evidence shows that the Defendant deposited stolen and fraudulently altered postal

money orders into fraudulent accounts held in the names of eleven different individual victims.




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The Defendant was captured on bank surveillance footage depositing the stolen postal money

orders into accounts held in the names of the eleven individual victims:

       •    Victim 1 (Ex. 9 at 33);
       •    Victim 2 (Ex. 9 at 46, 47, 48, 49);
       •    Victim 3 (Ex. 9 at 27-29);
       •    Victim 4 (Ex. 9 at 54);
       •    Victim 5 (Ex. 9 at 2-10);
       •    Victim 6 (Ex. 9 at 13-22);
       •    Victim 7 (Ex. 9 at 50, 51);
       •    Victim 8 (Ex. 9 at 23-26, 53);
       •    Victim 9 (Ex. 9 at 52);
       •    Victim 10 (Ex. 9 at 34, 35); and
       •    Victim 14 (Ex. 9 at 55, 56).

Since the offense conduct directly attributable to the Defendant is sufficient to show that the

Defendant’s criminal conduct involved ten or more victims, the 2-level enhancement applies

pursuant to U.S.S.G. § 2B1.1(b)(2)(A). See United States v. Melchor, 580 F. App’x 173, 174 (4th

Cir. 2014) (stating that pursuant to U.S.S.G. § 2B1.1(b)(2) cmt. n.4(E) “‘victim’ means . . . any

individual whose means of identification was used unlawfully or without authority” and affirming

district court “considering the individuals whose identifying information was stolen by [the

defendant] to be victims for purposes of the Guidelines.”)

       c. The Defendant’s Offense Involved Sophisticated Means

       “Section 2B1.1(b)(10)(C) directs the sentencing court to increase the offense level by two

levels if ‘the offense otherwise involved sophisticated means.’” United States v. Wolf, 860 F.3d

175, 199 (4th Cir. 2017) (quoting USSG § 2B1.1(b)(10)(C)). Sophisticated means “means

especially complex or especially intricate offense conduct pertaining to the execution or

concealment of an offense.” U.S.S.G. § 2B1.1 cmt. n. 9(B). By way of example, the Sentencing



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Guidelines states that the sophisticated-means enhancement applies where the offense conduct

includes “hiding assets or transactions, or both, through the use of fictitious entities, corporate

shells, or offshore financial accounts.’” Id. “The enhancement applies where the entirety of a

scheme constitutes sophisticated means, even if every individual action is not sophisticated.”

United States v. Adepoju, 756 F.3d 250, 257 (4th Cir. 2014). “A sentencing court should consider

the cumulative impact of the criminal conduct, for the ‘total scheme’ may be ‘sophisticated in the

way all the steps were linked together.’” United States v. Jinwright, 683 F.3d 471, 486 (4th Cir.

2012).

         The Defendant’s use of accounts in the names of fictitious entities to deposit stolen

fraudulently altered postal money orders is alone sufficient to apply this 2-level enhancement,

showing that he “intentionally engaged in or caused the conduct constituting sophisticated means.”

U.S.S.G. § 2B1.1(b)(10)(C). See (Ex. 9 at 30-32, 37-45); United States v. Chisholm, 652 F. App’x

196, 199 (4th Cir. 2016) (finding that where the defendant “took efforts at concealment that went

beyond the concealment inherent in fraud” the district court did not err in applying the

enhancement).

         The scheme as a whole was sophisticated as well. The Defendant used printers to alter and

forge stolen postal money orders with sufficient detail that they would be accepted by unsuspecting

financial institutions. Such forging included affixing issue dates, U.S. Post Office unit numbers,

and issue amounts, making these fraudulently altered postal money orders appear legitimate. (See

Ex. 8; Ex. 19 n. 1.) The intricate nature of this offense conduct rises to the level of “sophisticated

means.” See United States v. Balde, 616 F. App’x 578, 584 (4th Cir. 2015) (finding that the

sophisticated means enhancement applied where fraudulent purchases were disguised by encoding

cards with stolen credit card number to make them appear as legitimate transactions.) The forging




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of numerous stolen postal money orders repeatedly and with such detail as well as their subsequent

deposit in various accounts in the names of identity theft victims and fictitious entities at the victim

financial institutions concealed the Defendant’s crimes and made them difficult to detect—

elements of a complex scheme. See id.; See United States v. Williams, No. 4:14-CR-38-FL, 2014

WL 7369836, at *3 (E.D.N.C. Dec. 29, 2014) (stating that “[f]orging signatures, opening false

accounts, and taking steps to make a crime difficult to detect are all elements of a complex

scheme”); see also United States v. Vysniauskas, 593 F. App’x 518, 531-32 (6th Cir. 2015) (noting

that the “repeated use of false identities in an extensive and repetitive scheme supports” a

sophisticated means enhancement, “even if ‘the information used was not itself unduly complex

or difficult to obtain’”); United States v. Adejumo, 772 F.3d 513, 531 (8th Cir. 2014) (affirming

district court’s application of sophisticated means enhancement where defendant had identification

documents, specifically created with his picture on them, and the conduct was “repetitive in

nature.”) All of this shows a level of sophistication and complexity that warrants the 2-level

enhancement for engaging in conduct constituting sophisticated means, pursuant to U.S.S.G. §

2B1.1(b)(10)(C).

       d. Final Offense Level and Guidelines Range

       Based on the above, the Government, Probation, and the Defendant agree that the base

offense level is 7, pursuant to U.S.S.G. § 2B1.1(a)(1). As set forth above, a 12-level increase

applies, pursuant to § 2B1.1(b)(1)(G), because the amount of loss involved in the offense was more

than $250,000 but not more than $550,000; a 2-level increase applies, pursuant to U.S.S.G. §

2B1.1(b)(2)(A), because the offense involved 10 or more victims; and a 2-level increase applies,

pursuant to U.S.S.G. § 2B1.1(b)(10), because the offense involved sophisticated means. Probation

agrees with these enhancements. The offense level is decreased by 2-levels because of the




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Defendant’s prompt recognition and affirmative acceptance of responsibility, U.S.S.G. § 3E1.1(a),

and the Government will move for an additional 1-level decrease based on the Defendant’s timely

notification of his intention to enter a plea of guilty, U.S.S.G. § 3E1.1(b). Accordingly, the

Defendant’s final offense level is 20 and the Defendant has a criminal history category VI based

on 21 criminal history points. The Sentencing Guidelines range is 70 to 87 months.

II.    Relevant Sentencing Considerations Under 18 U.S.C. § 3553(a)

       The Defendant’s extensive criminal history of fraud, his committing the instant offense

while on supervised release for aggravated identity theft and bank fraud, the length, breadth, and

scope of the Defendant’s criminal conduct, and the Defendant’s flight from law enforcement and

continued engagement in this criminal scheme after he knew that law enforcement was searching

his residences and seeking his arrest, demonstrates that a sentence at the top of the Sentencing

Guidelines range is necessary for this Defendant in order to satisfy the factors set forth under 18

U.S.C. § 3553(a).

       a. The Defendant’s Extensive Criminal History of Fraud

       The Defendant’s adult criminal convictions result in a criminal history score of 21—forty-

four convictions over the past fourteen years for offenses that include theft, using a stolen or

counterfeit check, driving with a suspended license, providing false information to the police,

check forgery, domestic assault, damage to property, bank fraud, and aggravated identity theft.

This criminal history evidences the Defendant’s lifetime of recidivist and fraudulent conduct,

starting at the age of eighteen.

               i. The Defendant’s Convictions in Minnesota

       At eighteen, the Defendant had two misdemeanor charges for theft, which resulted in

convictions. (PSR ¶¶ 54, 56.) Approximately four months after his second misdemeanor theft




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charge, the Defendant was charged with, and subsequently convicted for, check forgery. (PSR ¶

60.) From here, the Defendant continued to engage in more fraud, including a 2008 conviction for

providing a fake driver’s license to a police officer, (PSR ¶ 63), and a 2009 conviction for check

forgery at the age of 21, (PSR ¶ 77). The PSR discusses the facts of the 2009 offense for which

the Defendant was sentenced to 120 days incarceration, stayed, and 10 years of probation on

October 28, 2009. The Defendant, along with an accomplice, attempted to commit bank fraud by

presenting a bank teller with a check in the amount of $8,245.00, which was drawn on a victim’s

bank account. When the teller determined that the victim’s bank account had been closed earlier

that day, the Defendant attempted to leave the scene. When law enforcement apprehended the

Defendant in his vehicle, they recovered bank deposit slips, two credit cards in the name of another

victim, a pay stub for another victim and a check payable to that victim from a cleaning business,

seven blank Minnesota Driver’s license applications, and a mechanical date stamper. (Id.) This

fact pattern and such evidence of the tools of the Defendant’s fraudulent trade would be repeated

ad nauseum over his litany of fraud-related convictions for the next ten years—leading up to the

instant case.

       Again in 2009, a month after his prior arrest, the Defendant was charged with Possession

or Sale of Stolen or Counterfeit Checks. (PSR ¶ 81.) On November 17, 2009, the Defendant was

sentenced to 1 year and 1 day incarceration, stayed for 3 years, credit for 124 days time served,

and 3 years probation. (Id.) The facts of the conviction again show the Defendant using a check

with an illegible signature to withdraw funds from a victim’s bank account and deposit the

money—on video surveillance—into another victim’s account. (Id.) When law enforcement

questioned the victim whose account was used to deposit the funds, the victim stated that the




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Defendant “told her he could assist with financial problems” and in exchange for providing her

bank account information “the victim received $2,000 and the defendant kept $5,000.” (Id.)

       On August 27, 2010, the Defendant was sentenced to 13 months incarceration, stayed for

5 years, 90 days incarceration, 13 days credit for time served, and 5 years probation for check

forgery. (PSR ¶ 84.) This time, the Defendant went to a department store and presented a check

drawn on the account of the victim, with a fraudulent state picture identification with the name of

the victim, and a bank check card bearing the name of the identity theft victim. (Id.) A month

after the Defendant was arrested for this crime, the Defendant was again arrested on February 16,

2020, for Forgery-Falsely Make or Alter Membership Card. (PSR ¶ 85.) On January 28, 2011,

the Defendant was sentenced to 17 months incarceration, stayed for 10 years, 10 years probation

with condition of 144 days incarceration, credit for 144 days served. (Id.) For both of these crimes,

the Defendant violated probation and was sentenced to additional time. (PSR ¶¶ 84, 85.)

       Four months later, on April 19, 2011, the Defendant was arrested for Give Peace Officer

False Name—again using a false identification. (PSR ¶ 90.) On December 4, 2012, the Defendant

was sentenced to 90 days incarceration, stayed for 1 year, and 1 year probation. (Id.) On August

19, 2013, the Defendant was sentenced to 17 months incarceration, stayed for 3 years, 120 days

incarceration, 120 days credit for time served, 3 years probation for Theft by Swindle. (PSR ¶ 91.)

The Defendant had insured two vehicles using the business checking account of a victim.

               ii. The Defendant’s Convictions in the DMV-area

       Following his string of fraud convictions in Minnesota, the Defendant was convicted in

this Court for (i) Giving False Name to Police and (ii) Giving False Information, among other

crimes, on August 19, 2015. (PSR ¶ 93.) After having been pulled over for a traffic violation, the

Defendant had provided a false identification to the U.S. Park Police. (Id.)




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        While this case was pending, on July 8, 2015, the Defendant pled guilty to Aggravated

Identity Theft and Bank Fraud in the U.S. District Court for the Eastern District of Virginia. (PSR

¶ 94.) As set forth in the stipulated facts, the Defendant used a victim’s identity to defraud several

financial institutions, including a number of victim financial institutions who were defrauded in

this case. (Id.) As he did in his 2009 conviction for Possession or Sale of Stolen or Counterfeit

Checks, the Defendant recruited individuals to provide their personal identification information

(“PII”) in exchange for a cash payment. Once the Defendant had control of the individuals’ bank

account information, the Defendant would deposit fraudulent checks into the bank accounts. (Id.)

The Defendant would then purchase postal money orders or make cash withdrawals before the

account was frozen. When the Defendant was arrested for drunk driving by the U.S. Park Police,

law enforcement recovered $2,000 in cash and two $1,000 postal money orders purchased using

an account taken over by the Defendant. The Defendant had used the false identification he had

provided to law enforcement to negotiate a postal money orders for $1,000 and $800, respectively,

and to open a bank account. (Id.) The Defendant then proceeded to deposit fraudulently obtained

postal money orders into this bank account over multiple days. The Defendant also used the debit

card associated with the bank account to make purchases. For his offense conduct, the Defendant

was sentenced to a total of 54 months incarceration as well as 5 years of supervised release.

Following a motion for downward departure, the Defendant’s sentence was reduced to 27 months.

(Id.)

        b. The Defendant’s Commission of this Crime While on Supervised Release

        The Defendant began his term of supervised release on September 11, 2017. (PSR ¶ 94.)

In less than eighteen months, the Defendant had begun his offense conduct in this case—starting

with his theft of blank postal money orders from the Prince George’s Plaza Post Office on February




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7, 2019, and his alteration of and deposit of these fraudulent postal money orders shortly thereafter.

The Defendant’s resumption of his criminal conduct is in lockstep with his history of committing

offenses while on court ordered probation. (PSR ¶¶ 77, 84, 85, 91.)

       c. The Nature and Circumstances of the Defendant’s Offense

       The Government’s sentencing memorandum sets out in detail—with the underlying

evidence—the Defendant’s approximately eighteen-months long engagement in a scheme to steal

postal money orders, impersonate individual victims, and defraud financial institutions out of at

least $71,880.00 in fraudulent postal money orders cashed by this Defendant.

       To bring this criminal scheme to fruition, the Defendant engaged in every tool of the trade

that he used in his numerous prior fraud convictions. Surveillance images, eyewitnesses, and

evidence recovered from the Defendant’s residences show that the Defendant engaged in theft by

stealing stacks of blank postal money orders from U.S. Post Offices in Maryland and Georgia.

Evidence recovered pursuant to search warrants demonstrates that the Defendant then altered the

blank stolen postal money orders to reflect them being issued for high dollar amounts, including

by affixing issue dates and post office codes on the postal money orders so that they would be

accepted by victim financial institutions. Following this, the Defendant opened or took control of

accounts in the names and identities of individual victims as well as fictitious entities to then

deposit the stolen money orders personally into these fraudulent accounts.

       The Defendant’s criminal conduct was not limited solely to his own actions. Many of the

blank postal money orders in the stacks stolen by the Defendant were fraudulently altered and

deposited at victim financial institutions. In many cases, accounts opened in the name of identity

theft victims or in the names of fictitious businesses—that were used by the Defendant himself as

evidenced in bank surveillance footage—were used to deposit the fraudulent postal money orders.




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The total losses to the victim financial institutions attributable to the Defendant’s theft of blank

postal money orders from the Prince George’s Plaza Post Office, the White Marsh Post Office, the

Glenn Dale Post Office, the Gwynn Oak Post Office, the Columbia Post Office, and the Industrial

Post Office is $392,500.72. Showing a clear escalation in his criminal conduct, the harm caused

by the Defendant from this scheme is greater by an order of magnitude than any of his prior

criminal activity.

       d. The Defendant’s Flight from Law Enforcement and Continued Engagement in this
          Offense

       Law enforcement was unable to locate Lamin in Maryland when they executed search

warrants at Lamin’s Maryland residences, one of which was the residence the Defendant had on

file with Probation. The search warrants were executed on January 22, 2020, and on the same day

Lamin texted an acquaintance that he was “running form [sic] the law.” (Ex. 10.) The Defendant

never informed his probation officer that he went to Texas, because he knew that law enforcement

was executing a search warrant at his home. The Defendant had an image of the search and seizure

warrant for the Gwynn Oak, Maryland, residence on his phone, dated March 6, 2020. (Ex. 18.)

As previously described, at the Dallas residence, law enforcement found fraudulent identifications

using Lamin’s photograph and the names and identifiers of identity theft victims. In addition, law

enforcement found financial documents and debit cards in the names of the identity theft victims.

Law enforcement also found 14 blank stolen postal money orders from the Industrial Post Office.

       The fact that law enforcement was after Lamin did not dissuade the Defendant from

continuing to engage in his fraudulent scheme. At least twenty-three postal money orders—from

the White Marsh Post Office and the Industrial Post Office—were deposited after January 22,

2020. Between February and April 2020, fraudulent postal money orders were deposited in bank

accounts in the names of Victims 5, 7, and 15 in the amount of $13,980. (Ex. 23 at 1-9, 29-33; Ex.



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26 at 45-46.) As previously noted, when law enforcement searched Lamin’s Dallas residence they

recovered driver’s licenses for Victims 7 and 15.

       e. Necessity of the Requested Sentence

       The nature and circumstances of the offense as well as the history and characteristics of

this Defendant’s incredibly long criminal history necessitate a sentence at the top of the Sentencing

Guidelines to reflect the seriousness of the offense, to promote respect for the law, to provide just

punishment, to afford adequate deterrence, and to protect the public from further crimes of this

Defendant.

       The Defendant’s instant offense is more serious than any he has previously committed in

his long criminal history. The year-and-a-half long scheme perpetuated by the Defendant eclipses

his prior offenses, including his prior federal conviction in the Eastern District of Virginia.

Similarly, the number of victims (both individual and financial), amount of loss, and the variety

of criminal acts that the Defendant undertook to commit this offense—theft, forgery, identity theft,

and bank fraud—evidence the seriousness of the offense. Accordingly, a sentence at the top of the

Sentencing Guidelines is the only adequate sentence to provide just punishment for this offense.

       The Government is hopeful that such a stiff sentence will promote respect for the law with

this Defendant and afford adequate deterrence, as he once again stands before the Court having

shown little respect for the law or the consequences that accompany his repeated decision to violate

it. The Government acknowledges the Defendant’s incredibly tough childhood that led to his

immigration to the United States, as detailed in the PSR. However, that does not mitigate the

Defendant’s long history of continued and escalating recidivism—having been given every




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opportunity to turn his life around over the past fifteen years. 3 As set forth above, the Defendant

has received significant breaks in his numerous past criminal convictions—sentences that have

been largely suspended. Each time, the Defendant has thumbed his nose at the Court, continuing

to engage in crime while on probation. This instance is no different. The Defendant committed

the instant offense while on supervised release for a prior federal crime. A sentence at the high

end of the applicable Guidelines would be approximately three times more than the Defendant has

ever previously served. Such a sentence of 87 months is entirely appropriate based on the

significantly escalated seriousness of the offense—the Government hopes an adequate

deterrence   to   this   Defendant.    However, should such a stiff sentence not provide

the disincentive for this Defendant to not reengage in recidivism, then the longest

possible sentence is the only way to protect the public from his further crimes.

III.   Forfeiture Judgment and Restitution

       a. Forfeiture Judgment in the Amount of the Defendant’s Gross Proceeds

       The Government asks the Court to incorporate the motion for forfeiture of property and

preliminary order of forfeiture into the sentencing proceeding.




       3
          The Government anticipates that the Defendant may argue that his contraction of COVID-
19 during his pretrial detention or his detention during the pandemic merits a lower sentence. The
Defendant’s own choices leading up to this offense—his long history of fraud and his decision to
flee from law enforcement during the pandemic—necessitated his incarceration, as (then) U.S.
Magistrate Judge Boardman determined. (ECF No. 30.) Notwithstanding this, the Defendant’s
medical records show that he was found “asymptomatic” on January 24, 2021, which continued
until the Defendant was released from isolation. (ECF No. 26 at 3-29.) On the day the Defendant
was confirmed to have COVID-19, he denied having “chest pain, head ache, [shortness of breath],
fever, chills, cough, muscle ache, or loss [of] taste or smell.” (Id. at 35. But see PSR ¶ 132.)
Neither the Defendant’s contraction of COVID-19 nor his pretrial detention during a pandemic
diminishes the significant harm caused by this Defendant—a harm for which the only just
punishment is a top of the Guidelines sentence.


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       b. Restitution to the Victim Financial Institutions is Appropriate in this Case

       Additionally, under the Mandatory Victims Restitution Act (“MVRA”), a defendant is

required to make full restitution for offenses in which an identifiable victim has suffered a

pecuniary loss. Id. § 3663A(c)(1)(B). The Government must demonstrate the victim’s loss by a

preponderance of the evidence, Id. § 3664(a), (e), and the MVRA limits any award “to the victim’s

‘actual losses.’” United States v. Anderson, 741 F.3d 938, 951 (9th Cir. 2013) (stating that

“restitution in a criminal copyright case must reflect the victim's actual losses, not the defendant's

gain”); see also United States v. Fair, 699 F.3d 508, 513 (D.C. Cir. 2012) (finding that

“defendant’s gain is not an appropriate measure of the victim’s actual loss in MVRA

calculations.”) “Calculating loss under the MVRA must be done with ‘some precision,’ although

‘exact precision’ is not required.” United States v. Rakhamimov, No. WDQ-13-0662, 2015 WL

6739579, at *4 (D. Md. Nov. 2, 2015) (quoting United States v. Ferdman, 779 F.3d 1129, 1133

(10th Cir. 2015)). “So long as the basis for reasonable approximation is at hand, difficulties in

achieving exact measurements will not preclude a trial court from ordering restitution.” United

States v. Mejia, 326 F. App’x 710, 712 (4th Cir. 2009).

       The above-described offense conduct is sufficient to establish that these victim financial

institutions are a “victim” of the Defendant’s conduct under the MVRA. 18 U.S.C. § 3663A(a)(2);

(see generally Ex. 2). In advance of the Defendant’s sentencing, the Government anticipates

submitting restitution requests with actual losses from the victim financial institutions where the

Defendant or those he conspired with deposited the fraudulently altered stolen postal money

orders. 4 (Exs. 20-26.)




       4
         To date, Bank of America and PNC Bank have submitted victim impact statements
claiming actual losses in the amount of $54,526.87 and $73,345.32, respectively. (Exs. 17, 27.)


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                                        CONCLUSION

       For the foregoing reasons, and additional information that may be presented at the

sentencing hearing, the Government respectfully submits that a sentence of 87 months in prison,

followed by 5 years of supervised release, is sufficient but not greater than necessary to meet the

purposes of sentencing as enumerated in the § 3553(a) factors.




                                                             Respectfully submitted,

                                                             Jonathan F. Lenzner
                                                             Acting United States Attorney

                                                       By:      /s/
                                                             Rajeev R. Raghavan
                                                             Assistant United States Attorney




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was filed electronically on September

2, 2021, and thus served upon defense counsel.



                                                          /s/
                                                  Rajeev R. Raghavan
                                                  Assistant United States Attorney




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